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                    IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF IDAHO

UNITED STATES OF AMERICA,           )
                                    )
     Plaintiff,                     )                    Case No. CR 05-124-S-BLW
                                    )
v.                                  )                    REPORT AND
                                    )                    RECOMMENDATION
KEVIN BLAIR,                        )
                                    )
     Defendant.                     )
____________________________________)

      On March 14, 2006, Defendant appeared before the undersigned United States

Magistrate Judge to enter a change of plea pursuant to a written plea agreement.

Defendant executed a written waiver of the right to have the presiding United States

District Judge take his change of plea. Thereafter, the Court explained to Defendant the

nature of the charges, the maximum penalties applicable, his constitutional rights, the

effect of the Sentencing Guidelines, and that the District Judge would not be bound by the

agreement of the parties as to the penalty to be imposed.

      Having conducted the change of plea hearing and having inquired of Defendant, his

counsel, and counsel for the United States, the Court concludes that there is a factual

basis for Defendant’s plea of guilty, that it was entered voluntarily and with full

knowledge of the consequences, and that the plea should be accepted.




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      Based upon the foregoing, this Court recommends that the District Court accept

Defendant’s plea of guilty to Count One of the First Superseding Indictment and that the

remaining Count 99 be dismissed (as to this Defendant only).

                                                DATED: March 15, 2006.



                                                Larry M. Boyle
                                                Chief U. S. Magistrate Judge




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